Case 2:11-cv-00507-MHS Document 34 Filed 08/23/12 Page 1 of 1 PageID #: 234
                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF TEXAS
                           MARSHALL DIVISION

PT DIAGNOSTICS, LLC,                         §
                                             §
       Plaintiff,                            §
                                             §
              v.                             §     Civil Action No. 2:11-cv-507
                                             §
UNITED TECHNOLOGIES CORP.,                   §
                                             §
   .   Defendant.                            §

                                    FINAL JUDGMENT

       In accordance with the Court’s order of dismissal, it is hereby ORDERED, ADJUDGED,

and DECREED that final judgment be entered in this case.

       All relief not previously granted is hereby DENIED.

       It is SO ORDERED.

       SIGNED this 22nd day of August, 2012.




                                                       ____________________________________
                                                       MICHAEL H. SCHNEIDER
                                                       UNITED STATES DISTRICT JUDGE
